     Case 2:19-cv-09557-JAK-RAO Document 62 Filed 02/19/21 Page 1 of 2 Page ID #:791



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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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11    NADINE JARRARD, an individual,           No. 2:19-cv-09557-JAK (RAOx)
12                Plaintiff,
13          vs.                                ORDER RE STIPULATED DISMISSAL
14    G/O MEDIA, INC., and DOES 1 through      WITH PREJUDICE (DKT. 61)
      50, Inclusive,
15                                             JS-6
                  Defendants.
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     Case 2:19-cv-09557-JAK-RAO Document 62 Filed 02/19/21 Page 2 of 2 Page ID #:792



 1          Based on a review of the Stipulated Dismissal with Prejudice (the “Stipulation” (Dkt.
 2    61)), sufficient good cause has been shown for the requested relief. Therefore, the
 3    Stipulation is APPROVED. This action is hereby dismissed with prejudice as to all parties
 4    and claims. Each party shall bear her or its own attorney’s fees and costs.
 5
 6    IT IS SO ORDERED.
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 8    Dated: February 19, 2021               _______________________________________
                                             John. A. Kronstadt
 9                                           United States District Judge
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